Case 2:23-cv-00238-JRG   Document 1-4   Filed 05/27/23   Page 1 of 35 PageID #: 76




                               EXHIBIT D
                   Case 2:23-cv-00238-JRG          Document 1-4          Filed 05/27/23    Page 2 of 35 PageID #: 77
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


      Claims                                                            Evidence
 1. A mobile         Samsung mobile phones, such as (for example) the Samsung Galaxy Note 20 5G, utilize a mobile phone system,
 phone system,       comprising a Bluetooth radio frequency transceiver configured to wirelessly communicate with adjacent mobile
 comprising:         wireless communication devices.
 a Bluetooth
 radio frequency     Samsung offers a technology named "SmartThings Find" (see, e.g., Ref. 2; Ref. 3; Ref. 4) "that helps you quickly
 transceiver         and easily locate Galaxy devices" (Ref. 2), which include mobile phone systems.
 configured to
 wirelessly          Similarly, another document explains that SmartThings Find "lets Samsung customers quickly locate registered
 communicate         Galaxy devices including smartphones, tablets, smartwatches and earbuds" (Ref. 4).
 with adjacent
 mobile wireless     Furthermore, "Samsung will further expand these capabilities to tracking tags, which will help users locate their
 communication       favorite items, not only for Galaxy devices, but also others as well" (Ref. 2).
 devices;
                     Indeed, it has been emphasized that SmartThings Find "can also locate your personal things like keys and wallet
                     after attaching them with Galaxy SmartTag or SmartTag+" (Ref. 4).

                     In short, Samsung "will also make this functionality available to tracking tags, this will help users locate their
                     favorite items, other than Galaxy devices" (Ref. 5).

                     Moreover, "On July 14 [2022], Samsung disclosed that the rapidly growing SmartThings Find service is now
                     comprised of more than 200 million find nodes" (Ref. 4) (clarifying material in square brackets added here). It is
                     further explained that, by definition, "Find nodes are devices that have been registered on the SmartThings Find
                     service" (Ref. 4).

                     In fact, it has been stated that "Smart[T]hings [is] one of the fastest growing services at Samsung" (Ref. 4)
                     (clarifying material in square brackets added here).

                     Samsung documentation advertises that "With the SmartThings Find service, you can easily locate your missing
                     device even if it's offline...Once a device has been offline for 30 minutes, it produces a BLE signal that can be
                     received by other devices" (excerpted from Ref. 2). As a reminder, in this context, the arrangement of letters
                     "BLE" is an acronym for "Bluetooth Low Energy" (see, e.g., Ref. 2).




                                                                     1
                  Case 2:23-cv-00238-JRG          Document 1-4          Filed 05/27/23   Page 3 of 35 PageID #: 78
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


                    A variety of Samsung Galaxy products have Bluetooth capability. As only a few examples, it has been revealed
                    that both the "Samsung Galaxy Note20 5G" (Ref. 1) and the "Galaxy Note20 Ultra 5G" (Ref. 1) include
                    Bluetooth connectivity (see, e.g., Ref. 1).

                    In fact, Samsung has explained that "SmartThings Find uses Bluetooth Low Energy (BLE)...to help people find
                    select Galaxy smartphones, tablets, smartwatches and earbuds" (excerpted from Ref. 2) (parenthetical insertion
                    in the original).

                    Samsung Galaxy Note20 5G / Galaxy Note20 Ultra 5G - Turn Bluetooth On / Off

                    1. From a Home screen, swipe up to access the apps screen.
                          These instructions only apply to Standard mode the default Home screen layout.
                    2. Navigate: Settings > Connections > Bluetooth.
                    3. Tap the Bluetooth switch to turn on       or off    .
                          The device is visible to nearby devices while the Bluetooth® settings screen is open and Bluetooth is
                       turned on.

                     Related Topics:

                        •   Connect your Vehicle to Bluetooth
                        •   Create a Paired Connection - Windows®
                        •   Create a Paired Connection - Macintosh® OS X

                    https://www.verizon.com/support/knowledge-base-232939/
 a cellular         Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a mobile phone system comprising a
 wireless           cellular wireless transceiver. See, e.g., https://www.gsmarena.com/samsung_galaxy_note20_5g-10325.php
 transceiver;
 a global           Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a mobile phone system comprising a
 positioning        global positioning system device.
 system device;
 and                It is well-known that many Samsung Galaxy products include GPS-based location capability. For instance,
                    Reference 6 shows how to set up a Galaxy device location modality using "GPS and Wi-Fi"; using "Wi-Fi only";
                    or using "GPS only."


                                                                    2
                   Case 2:23-cv-00238-JRG         Document 1-4          Filed 05/27/23   Page 4 of 35 PageID #: 79
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find



                     Samsung Galaxy Note20 5G / Galaxy Note20 Ultra 5G - Turn GPS Location On / Off

                        Satellite or standalone GPS services require more power and have a greater effect on battery life.

                     1. From a Home screen, swipe up to access the apps screen.
                           These instructions only apply to Standard mode and the default Home screen layout.
                     2. Navigate: Settings > Location.
                     3. Tap the Location switch to turn on      or off     .
                           If presented, review the Location consent disclaimer then tap Agree.
                     4. If preferred, tap Improve accuracy then tap 'Wi-Fi scanning' or 'Bluetooth scanning' to turn on or off.
                           If applicable, the GPS mode can be customized.

                     https://www.verizon.com/support/knowledge-base-232941/
 at least one        Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a mobile phone system comprising at
 automated           least one automated processor.
 processor
 configured to:       PLATFORM          OS               Android 10, upgradable to Android 11, One UI 3.0
                                        Chipset          Exynos 990 (7 nm+) - Global
                                                         Qualcomm SM8250 Snapdragon 865 5G+ (7 nm+) - USA
                                        CPU              Octa-core (2x2.73 GHz Mongoose M5 & 2x2.50 GHz Cortex-A76 & 4x2.0
                                                         GHz Cortex-A55) - Global
                                                         Octa-core (1x3.0 GHz Kryo 585 & 3x2.42 GHz Kryo 585 & 4x1.8 GHz
                                                         Kryo 585) - USA
                                        GPU              Mali-G77 MP11 - Global
                                                         Adreno 650 - USA

                     https://www.gsmarena.com/samsung_galaxy_note20_5g-10325.php
 control the         Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a mobile phone system comprising at
 Bluetooth radio     least one automated processor configured to control the Bluetooth radio frequency transceiver to directly receive
 frequency           at least an identification from the adjacent mobile wireless communication devices.
 transceiver to

                                                                    3
                    Case 2:23-cv-00238-JRG         Document 1-4          Filed 05/27/23   Page 5 of 35 PageID #: 80
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


 directly receive     Offline Doesn’t Mean “Off-The-Grid”
 at least an          With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 identification       because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 from the             locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 adjacent mobile      received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 wireless             smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 communication        location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 devices;             ensuring that the device’s location is not revealed to anyone except its owner.

                      Samsung has explained that "SmartThings Find uses Bluetooth Low Energy (BLE)...to help people find select
                      Galaxy smartphones, tablets, smartwatches and earbuds" (excerpted from Ref. 2) (parenthetical insertion in the
                      original).

                      Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
                      Samsung Global Newsroom (Ref. 2)

 control the          Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a mobile phone system comprising at
 Bluetooth radio      least one automated processor configured to control the Bluetooth radio frequency transceiver to directly transmit
 frequency            at least an identification to the adjacent mobile wireless communication devices.
 transceiver to
 directly transmit    For example, this is evidenced by the fact that the BLE signal a mobile device transmits allows that device to be
 at least an          identified.
 identification to
 the adjacent         Offline Doesn’t Mean “Off-The-Grid”
 mobile wireless      With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 communication        because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 devices;             locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
                      received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
                      smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
                      location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
                      ensuring that the device’s location is not revealed to anyone except its owner.




                                                                     4
                 Case 2:23-cv-00238-JRG           Document 1-4          Filed 05/27/23   Page 6 of 35 PageID #: 81
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


                     Samsung has explained that "SmartThings Find uses Bluetooth Low Energy (BLE)...to help people find select
                     Galaxy smartphones, tablets, smartwatches and earbuds" (excerpted from Ref. 2) (parenthetical insertion in the
                     original).

                     Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
                     Samsung Global Newsroom (Ref. 2)
 record the          Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a mobile phone system comprising at
 identification of   least one automated processor configured to record the identification of the adjacent mobile wireless
 the adjacent        communication devices received through the Bluetooth radio frequency transceiver, along with a time and a
 mobile wireless     determined global location of the communication determined by the global positioning system device.
 communication
 devices received    For example, this is evidenced by the fact that the SmartThings Find service alerts a mobile device owner
 through the         regarding the device’s location.
 Bluetooth radio
 frequency           Offline Doesn’t Mean “Off-The-Grid”
 transceiver,        With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 along with a        because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 time and a          locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 determined          received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 global location     smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 of the              location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 communication       ensuring that the device’s location is not revealed to anyone except its owner.
 determined by
 the global          Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
 positioning         Samsung Global Newsroom
 system device;




                                                                    5
                 Case 2:23-cv-00238-JRG           Document 1-4           Filed 05/27/23    Page 7 of 35 PageID #: 82
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find




                    Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans

                    The SmartThings Find technology reports the identification of the specific object being sought, the time that it
                    was found, and the location that this lost object occupies (see, e.g., screenshots included in Ref. 3 and in Ref. 5).
                    For instance, it has been written that "Samsung customers quickly locate registered Galaxy devices" (Ref. 4).
                    Clearly, in order for the registration to be useful, it must necessarily include the identification of the lost object.

                    In addition, the SmartThings Find technology indicates the time that the object was located. For example, in a
                    screen shot included with Reference 5, notice that the time indicated is 12:45 PM on August 20th.

                    And, the SmartThings Find technology indicates the location of the lost object. In the example discussed
                    immediately above, the screen shot indicates that the location of the lost item is 2340 Jackson Street in
                    Bakersfield.


                                                                     6
                 Case 2:23-cv-00238-JRG           Document 1-4          Filed 05/27/23   Page 8 of 35 PageID #: 83
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


 transmit the        Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a mobile phone system comprising at
 identification      least one automated processor configured to transmit the identification received from the adjacent mobile
 received from       wireless communication devices along with the time and the determined global location of the communication to
 the adjacent        a remote automated searchable database through the cellular wireless transceiver.
 mobile wireless
 communication       For example, this is evidenced by the fact that the SmartThings Find service alerts a mobile device owner
 devices along       regarding the device’s location.
 with the time
 and the             Offline Doesn’t Mean “Off-The-Grid”
 determined          With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 global location     because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 of the              locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 communication       received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 to a remote         smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 automated           location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 searchable          ensuring that the device’s location is not revealed to anyone except its owner.
 database
 through the         Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
 cellular wireless   Samsung Global Newsroom
 transceiver; and




                                                                    7
                 Case 2:23-cv-00238-JRG           Document 1-4          Filed 05/27/23    Page 9 of 35 PageID #: 84
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find




                    Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans

                    As detailed earlier in this patent claim chart, the SmartThings Find technology reports the identification of the
                    specific object being sought, the time that it was found, and the location that this lost object occupies (see, e.g.,
                    screenshots included in Ref. 3 and in Ref. 5). For instance, it has been written that "Samsung customers quickly
                    locate registered Galaxy devices" (Ref. 4). Clearly, in order for the registration to be useful, it must necessarily
                    include the identification of the lost object.

                    In addition, the SmartThings Find technology indicates the time that the object was located. For example, in a
                    screen shot included with Reference 5, notice that the time indicated is 12:45 PM on August 20th.

                    And, the SmartThings Find technology indicates the location of the lost object. In the example discussed
                    immediately above, the screen shot indicates that the location of the lost item is 2340 Jackson Street in
                    Bakersfield.

                                                                    8
                 Case 2:23-cv-00238-JRG          Document 1-4        Filed 05/27/23     Page 10 of 35 PageID #: 85
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


 a graphic           Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a mobile phone system comprising a
 display             graphic display configured to present a global positioning system referenced map, and to display location
 configured to       information received through the cellular wireless transceiver on the graphic display.
 present a global
 positioning         Offline Doesn’t Mean “Off-The-Grid”
 system              With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 referenced map,     because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 and to display      locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 location            received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 information         smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 received            location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 through the         ensuring that the device’s location is not revealed to anyone except its owner.
 cellular wireless
 transceiver on      Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
 the graphic         Samsung Global Newsroom
 display,
                     Samsung's SmartThings Find technology includes the capability to show the location on a map of the lost Galaxy
                     device (see, e.g., screenshots included in Ref. 3 and in Ref. 5). In fact, in a companion document, Samsung
                     reveals that "Your smartphone will then show you the exact location of your device on a map" (Ref. 2). And, as
                     can be seen in, for example, the screenshots included in Ref. 3 and in Ref. 5, the requisite location is indicated
                     with a corresponding icon at a specific map location.

                     Similarly, it has been stated that "Your devices will appear on a map so you can easily keep an eye on their
                     locations" (Ref. 4). This same document reminds user that "You'll see a map containing the devices you
                     selected" (Ref. 4).

                     Further, Samsung expressly states that their SmartThings Find technology can be employed "in conjunction with
                     maps...to guide you back to your devices" (excerpted from Ref. 2). Samsung goes on to detail that "Locating
                     your missing device is a breeze with integrated map directions" (Ref. 2).




                                                                    9
                 Case 2:23-cv-00238-JRG          Document 1-4        Filed 05/27/23   Page 11 of 35 PageID #: 86
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find




                    Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans
 wherein the        Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a mobile phone system comprising a
 remote             remote automated searchable database adapted to receive information from the mobile phone system to search
 automated          and map the determined global locations where the adjacent mobile wireless communication devices were
 searchable         detected.
 database is
 adapted:           Offline Doesn’t Mean “Off-The-Grid”
 to receive         With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 information        because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 from the mobile    locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 phone system to    received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 search and map     smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 the determined     location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 global locations   ensuring that the device’s location is not revealed to anyone except its owner.

                                                                   10
                 Case 2:23-cv-00238-JRG          Document 1-4        Filed 05/27/23    Page 12 of 35 PageID #: 87
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


 where the
 adjacent mobile    Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
 wireless           Samsung Global Newsroom
 communication
 devices were
 detected;




                    Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans

                    As explained in the section associated with the claim element immediately above, Samsung's SmartThings Find
                    technology includes the capability to show the location on a map of the lost Galaxy device (see, e.g., screenshots
                    included in Ref. 3 and in Ref. 5). Similarly, in a companion document, Samsung reveals that "Your smartphone
                    will then show you the exact location of your device on a map" (Ref. 2).




                                                                   11
                 Case 2:23-cv-00238-JRG           Document 1-4        Filed 05/27/23       Page 13 of 35 PageID #: 88
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


                     As detailed earlier in this patent claim chart, the SmartThings Find technology reports the identification of the
                     specific object being sought, the time that it was found, and the location that this lost object occupies (see, e.g.,
                     screenshots included in Ref. 3 and in Ref. 5).

                     In particular, the SmartThings Find technology indicates the time that the object was located. For example, in a
                     screen shot included with Reference 5, notice that the time indicated is 12:45 PM on August 20th.

                     And, the SmartThings Find technology indicates the location of the lost object. In the example discussed
                     immediately above, the screen shot indicates that the location of the lost item is 2340 Jackson Street in
                     Bakersfield.
 to receive          Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a mobile phone system comprising a
 further             remote automated searchable database adapted to receive further information from a plurality of different mobile
 information         phone systems comprising time, global location, and identification of respective adjacent mobile wireless
 from a plurality    communication device.
 of different
 mobile phone        Offline Doesn’t Mean “Off-The-Grid”
 systems             With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 comprising          because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 time, global        locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 location, and       received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 identification of   smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 respective          location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 adjacent mobile     ensuring that the device’s location is not revealed to anyone except its owner.
 wireless
 communication       Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
 devices; and        Samsung Global Newsroom




                                                                     12
                 Case 2:23-cv-00238-JRG          Document 1-4        Filed 05/27/23   Page 14 of 35 PageID #: 89
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find




                    Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans
 to transmit        Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a mobile phone system comprising a
 location           remote automated searchable database adapted to transmit location information from the database to the mobile
 information        phone system for display on the global positioning system referenced map.
 from the
 database to the    Offline Doesn’t Mean “Off-The-Grid”
 mobile phone       With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 system for         because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 display on the     locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 global             received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 positioning        smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 system             location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 referenced map.    ensuring that the device’s location is not revealed to anyone except its owner.


                                                                   13
                 Case 2:23-cv-00238-JRG          Document 1-4        Filed 05/27/23    Page 15 of 35 PageID #: 90
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


                    Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
                    Samsung Global Newsroom




                    Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans

                    Samsung's SmartThings Find technology includes the capability to show the location on a map of the lost Galaxy
                    device (see, e.g., screenshots included in Ref. 3 and in Ref. 5). In fact, in a companion document, Samsung
                    reveals that "Your smartphone will then show you the exact location of your device on a map" (Ref. 2). And, as
                    can be seen in, for example, the screenshots included in Ref. 3 and in Ref. 5, the requisite location is indicated
                    with a corresponding icon at a specific map location.




                                                                   14
                 Case 2:23-cv-00238-JRG          Document 1-4        Filed 05/27/23    Page 16 of 35 PageID #: 91
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


                    Similarly, it has been stated that "Your devices will appear on a map so you can easily keep an eye on their
                    locations" (Ref. 4). This same document reminds user that "You'll see a map containing the devices you
                    selected" (Ref. 4).

                    Further, Samsung expressly states that their SmartThings Find technology can be employed "in conjunction with
                    maps...to guide you back to your devices" (excerpted from Ref. 2). Samsung goes on to detail that "Locating
                    your missing device is a breeze with integrated map directions" (Ref. 2).
 2. The mobile      Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a mobile phone system comprising at
 phone system       least one automated processor is further configured to display a location where a respective adjacent mobile
 according          wireless communication device was detected on the map.
 to claim 1,
 wherein the at
 least one
 automated
 processor is
 further
 configured to
 display a
 location where a
 respective
 adjacent mobile
 wireless
 communication
 device was
 detected on the
 map.




                    Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans



                                                                   15
                 Case 2:23-cv-00238-JRG          Document 1-4        Filed 05/27/23     Page 17 of 35 PageID #: 92
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


                     Samsung's SmartThings Find technology includes the capability to show the location on a map of the lost Galaxy
                     device (see, e.g., screenshots included in Ref. 3 and in Ref. 5). In fact, in a companion document, Samsung
                     reveals that "Your smartphone will then show you the exact location of your device on a map" (Ref. 2). And, as
                     can be seen in, for example, the screenshots included in Ref. 3 and in Ref. 5, the requisite location is indicated
                     with a corresponding icon at a specific map location.

                     Similarly, it has been stated that "Your devices will appear on a map so you can easily keep an eye on their
                     locations" (Ref. 4). This same document reminds user that "You'll see a map containing the devices you
                     selected" (Ref. 4).

                     Further, Samsung expressly states that their SmartThings Find technology can be employed "in conjunction with
                     maps...to guide you back to your devices" (excerpted from Ref. 2). Samsung goes on to detail that "Locating
                     your missing device is a breeze with integrated map directions" (Ref. 2).
 3. The mobile       Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a mobile phone system comprising at
 phone system        least one automated processor configured to perform mobile ad hoc surveillance of phones by transmitting
 according           through the cellular wireless transceiver data from another mobile phone system received through the Bluetooth
 to claim 1,         radio frequency transceiver.
 wherein the at
 least one           Offline Doesn’t Mean “Off-The-Grid”
 automated           With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 processor is        because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 further             locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 configured to       received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 perform mobile      smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 ad hoc              location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 surveillance of     ensuring that the device’s location is not revealed to anyone except its owner.
 phones by
 transmitting        Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
 through the         Samsung Global Newsroom
 cellular wireless
 transceiver data
 from another
 mobile phone

                                                                   16
                 Case 2:23-cv-00238-JRG          Document 1-4        Filed 05/27/23    Page 18 of 35 PageID #: 93
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


 system received
 through the
 Bluetooth radio
 frequency
 transceiver.




                    Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans
 4. The mobile      On information and belief, Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a mobile
 phone system       phone system wherein the Bluetooth radio frequency transceiver is configured to periodically wirelessly receive
 according          an identifier of a respective adjacent mobile wireless communication device.
 to claim 1,
 wherein the        For example, on information and belief, once a device has been off-line for 30 minutes, it will periodically
 Bluetooth radio    produce a BLE signal.
 frequency
 transceiver is     Offline Doesn’t Mean “Off-The-Grid”
 configured to      With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 periodically       because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 wirelessly         locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 receive an         received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 identifier of a    smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its

                                                                   17
                 Case 2:23-cv-00238-JRG           Document 1-4        Filed 05/27/23      Page 19 of 35 PageID #: 94
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


 respective          location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 adjacent mobile     ensuring that the device’s location is not revealed to anyone except its owner.
 wireless
 communication
 device.
 5. The mobile       On information and belief, Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a mobile
 phone system        phone system comprising at least one automated processor configured to store all received identifiers along with
 according           a respective time and a respective determined global location of the communication of a respective received
 to claim 1,         identifier.
 wherein the at
 least one           Offline Doesn’t Mean “Off-The-Grid”
 automated           With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 processor is        because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 further             locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 configured to       received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 store all           smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 received            location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 identifiers along   ensuring that the device’s location is not revealed to anyone except its owner.
 with a
 respective time     Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
 and a respective    Samsung Global Newsroom
 determined
 global location
 of the
 communication
 of a respective
 received
 identifier.
 6. A method for     On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user performs
 tracking a          any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the performance of
 mobile device,      that step as disclosed herein. For example, on information and belief, a user cannot use the accused instrumentality
 comprising:         as described in this claim chart without performance of the steps recited in this claim. By providing the
                     functionality of the accused instrumentality as described herein, Defendant also controls the manner and/or timing

                                                                    18
                 Case 2:23-cv-00238-JRG          Document 1-4         Filed 05/27/23      Page 20 of 35 PageID #: 95
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


                    of the functionality described in this claim chart. In other words, for a user to utilize the functionality described in
                    this claim chart, the steps of this claim must be performed in the manner described herein. Without performance
                    of the steps as described herein, the Defendant’s functionality will not be available to users.

                    Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a method for tracking a mobile device.

                    Offline Doesn’t Mean “Off-The-Grid”
                    With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
                    because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
                    locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
                    received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
                    smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
                    location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
                    ensuring that the device’s location is not revealed to anyone except its owner.

                    Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
                    Samsung Global Newsroom

                    Samsung offers a technology named "SmartThings Find" (see, e.g., Ref. 2; Ref. 3; Ref. 4) "that helps you quickly
                    and easily locate Galaxy devices" (Ref. 2).

                    Similarly, another document explains that SmartThings Find "lets Samsung customers quickly locate registered
                    Galaxy devices including smartphones, tablets, smartwatches and earbuds" (Ref. 4).

                    Furthermore, "Samsung will further expand these capabilities to tracking tags, which will help users locate their
                    favorite items, not only for Galaxy devices, but also others as well" (Ref. 2).

                    Indeed, it has been emphasized that SmartThings Find "can also locate your personal things like keys and wallet
                    after attaching them with Galaxy SmartTag or SmartTag+" (Ref. 4).

                    In short, Samsung "will also make this functionality available to tracking tags, this will help users locate their
                    favorite items, other than Galaxy devices" (Ref. 5).



                                                                    19
                 Case 2:23-cv-00238-JRG          Document 1-4        Filed 05/27/23    Page 21 of 35 PageID #: 96
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


                    Moreover, "On July 14 [2022], Samsung disclosed that the rapidly growing SmartThings Find service is now
                    comprised of more than 200 million find nodes" (Ref. 4) (clarifying material in square brackets added here). It
                    is further explained that, by definition, "Find nodes are devices that have been registered on the SmartThings
                    Find service" (Ref. 4).

                   In fact, it has been stated that "Smart[T]hings [is] one of the fastest growing services at Samsung" (Ref. 4)
                   (clarifying material in square brackets added here).
 communicating Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a method for tracking a mobile device,
 an identification comprising communicating an identification directly between the mobile device and an adjacent mobile device
 directly between using a Bluetooth transceiver.
 the mobile
 device and an     Offline Doesn’t Mean “Off-The-Grid”
 adjacent mobile With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 device using a    because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 Bluetooth         locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 transceiver;      received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
                   smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
                   location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
                   ensuring that the device’s location is not revealed to anyone except its owner.

                    Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
                    Samsung Global Newsroom

                    Samsung documentation advertises that "With the SmartThings Find service, you can easily locate your missing
                    device even if it's offline...Once a device has been offline for 30 minutes, it produces a BLE signal that can be
                    received by other devices" (excerpted from Ref. 2). As a reminder, in this context, the arrangement of letters
                    "BLE" is an acronym for "Bluetooth Low Energy" (see, e.g., Ref. 2).

                    A variety of Samsung Galaxy products have Bluetooth capability. As only a few examples, it has been revealed
                    that both the "Samsung Galaxy Note20 5G" (Ref. 1) and the "Galaxy Note20 Ultra 5G" (Ref. 1) include
                    Bluetooth connectivity (see, e.g., Ref. 1).




                                                                   20
                   Case 2:23-cv-00238-JRG        Document 1-4        Filed 05/27/23    Page 22 of 35 PageID #: 97
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


                     In fact, Samsung has explained that "SmartThings Find uses Bluetooth Low Energy (BLE)...to help people find
                     select Galaxy smartphones, tablets, smartwatches and earbuds" (excerpted from Ref. 2) (parenthetical insertion
                     in the original).
 automatically       Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a method that includes automatically
 determining a       determining a location of the mobile phone with a GPS geolocation
 location of the     system.
 mobile device
 with a GPS          Easily Find More of Your Devices
 geolocation         After completing a quick registration process, SmartThings users can easily find their Galaxy devices – from
 system;             smartphones, tablets and smartwatches, down to each individual earbud. Whether you dropped your Galaxy
                     Note20 Ultra behind the sofa, can’t remember where you stashed your Galaxy Buds Live, or left your Galaxy
                     Watch3 somewhere so secure you can’t find it, the SmartThings Find service will help you keep more of your
                     Galaxy devices safe through the easy-to-use SmartThings app.

                     Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
                     Samsung Global Newsroom

                     It is well-known that many Samsung Galaxy product include GPS-based location capability. For instance,
                     Reference 6 shows how to set up a Galaxy device location modality using "GPS and Wi-Fi"; using "Wi-Fi only";
                     or using "GPS only."
 recording the       Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a method that includes recording the
 received            received identification of the respective adjacent mobile phones along with a time and the location of the mobile
 identification of   phone at a time of the received identification.
 the respective
 adjacent mobile     This is evidenced, for example, by the fact that a Samsung mobile phone can alert the Samsung server about the
 devices along       location of detected off-line devices.
 with a time and
 the location of     Offline Doesn’t Mean “Off-The-Grid”
 the mobile          With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 device at a time    because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 of the received     locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 identification;     received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
                     smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its

                                                                   21
                 Case 2:23-cv-00238-JRG          Document 1-4         Filed 05/27/23      Page 23 of 35 PageID #: 98
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


                    location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
                    ensuring that the device’s location is not revealed to anyone except its owner.

                    Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
                    Samsung Global Newsroom




                    Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans

                    The SmartThings Find technology reports the identification of the specific object being sought, the time that it
                    was found, and the location that this lost object occupies (see, e.g., screenshots included in Ref. 3 and in Ref. 5).
                    For instance, it has been written that "Samsung customers quickly locate registered Galaxy devices" (Ref. 4).
                    Clearly, in order for the registration to be useful, it must necessarily include the identification of the lost object.



                                                                    22
                 Case 2:23-cv-00238-JRG          Document 1-4        Filed 05/27/23   Page 24 of 35 PageID #: 99
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


                    In addition, the SmartThings Find technology indicates the time that the object was located. For example, in a
                    screen shot included with Reference 5, notice that the time indicated is 12:45 PM on August 20th.

                    And, the SmartThings Find technology indicates the location of the lost object. In the example discussed
                    immediately above, the screen shot indicates that the location of the lost item is 2340 Jackson Street in
                    Bakersfield.
 transmitting the   Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a method that includes transmitting
 received           the received identification along with the time and the location of the communication to a remote automated
 identification     searchable database through a cellular phone connection as a database record.
 along with the
 time and the       Offline Doesn’t Mean “Off-The-Grid”
 location of the    With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 communication      because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 to a remote        locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 automated          received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 searchable         smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 database           location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 through a          ensuring that the device’s location is not revealed to anyone except its owner.
 cellular phone
 connection as a    Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
 database record;   Samsung Global Newsroom
 and




                                                                   23
                   Case 2:23-cv-00238-JRG          Document 1-4 Filed 05/27/23             Page 25 of 35 PageID #:
                                                              100
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find




                    Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans

                    As detailed earlier in this patent claim chart, the SmartThings Find technology reports the identification of the
                    specific object being sought, the time that it was found, and the location that this lost object occupies (see, e.g.,
                    screenshots included in Ref. 3 and in Ref. 5). For instance, it has been written that "Samsung customers quickly
                    locate registered Galaxy devices" (Ref. 4). Clearly, in order for the registration to be useful, it must necessarily
                    include the identification of the lost object.

                    In addition, the SmartThings Find technology indicates the time that the object was located. For example, in a
                    screen shot included with Reference 5, notice that the time indicated is 12:45 PM on August 20th.

                    And, the SmartThings Find technology indicates the location of the lost object. In the example discussed
                    immediately above, the screen shot indicates that the location of the lost item is 2340 Jackson Street in
                    Bakersfield.

                                                                    24
                    Case 2:23-cv-00238-JRG         Document 1-4 Filed 05/27/23         Page 26 of 35 PageID #:
                                                              101
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


 displaying an       Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a method that includes displaying an
 icon at location    icon at location on a map selectively dependent on a communication received from the remote automated
 on a map            searchable database.
 selectively
 dependent on a      Offline Doesn’t Mean “Off-The-Grid”
 communication       With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 received from       because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 the remote          locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 automated           received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 searchable          smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 database,           location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
                     ensuring that the device’s location is not revealed to anyone except its owner.

                     Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
                     Samsung Global Newsroom




                                                                   25
                   Case 2:23-cv-00238-JRG          Document 1-4 Filed 05/27/23           Page 27 of 35 PageID #:
                                                              102
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find




                    Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans

                    Samsung's SmartThings Find technology includes the capability to show the location on a map of the lost Galaxy
                    device (see, e.g., screenshots included in Ref. 3 and in Ref. 5). In fact, in a companion document, Samsung
                    reveals that "Your smartphone will then show you the exact location of your device on a map" (Ref. 2). And, as
                    can be seen in, for example, the screenshots included in Ref. 3 and in Ref. 5, the requisite location is indicated
                    with a corresponding icon at a specific map location.

                    Similarly, it has been stated that "Your devices will appear on a map so you can easily keep an eye on their
                    locations" (Ref. 4). This same document reminds user that "You'll see a map containing the devices you
                    selected" (Ref. 4).




                                                                   26
                    Case 2:23-cv-00238-JRG         Document 1-4 Filed 05/27/23           Page 28 of 35 PageID #:
                                                              103
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


                     Further, Samsung expressly states that their SmartThings Find technology can be employed "in conjunction with
                     maps...to guide you back to your devices" (excerpted from Ref. 2). Samsung goes on to detail that "Locating
                     your missing device is a breeze with integrated map directions" (Ref. 2).
 wherein the         Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a method that includes a remote
 remote              automated searchable database that comprises information to search and map the locations where any respective
 automated           adjacent mobile devices were at the time they were detected and information to search and map a location where
 searchable          a respective adjacent mobile device was at a time it detected the mobile device.
 database
 comprises           This is evidenced, for example, by the fact that the Samsung server can map search and map the location of a
 information to      detected off-line mobile device based on the location of the mobile device that detected the off-line device.
 search and map
 the locations       Offline Doesn’t Mean “Off-The-Grid”
 where any           With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 respective          because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 adjacent mobile     locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 devices were at     received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 the time they       smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 were detected       location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 and information     ensuring that the device’s location is not revealed to anyone except its owner.
 to search and
 map a location      Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
 where a             Samsung Global Newsroom
 respective
 adjacent mobile
 device was at a
 time it detected
 the mobile
 device.




                                                                   27
                   Case 2:23-cv-00238-JRG          Document 1-4 Filed 05/27/23           Page 29 of 35 PageID #:
                                                              104
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find




                    Samsung launched SmartThings Find service, to easily locate your missing Galaxy devices - Sammy Fans

                    As explained in the section associated with the claim element immediately above, Samsung's SmartThings Find
                    technology includes the capability to show the location on a map of the lost Galaxy device (see, e.g., screenshots
                    included in Ref. 3 and in Ref. 5). Similarly, in a companion document, Samsung reveals that "Your smartphone
                    will then show you the exact location of your device on a map" (Ref. 2).

                    It is also explained that "SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to
                    help others locate their lost devices...If you report your device as lost via SmartThings Find, any nearby Galaxy
                    smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
                    location, which will in turn notify you" (excerpted from Ref. 2). This "Samsung server" houses the "remote
                    automated searchable database" recited in this portion of the patent claim.



                                                                   28
                    Case 2:23-cv-00238-JRG          Document 1-4 Filed 05/27/23              Page 30 of 35 PageID #:
                                                               105
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


                     As detailed earlier in this patent claim chart, the SmartThings Find technology reports the identification of the
                     specific object being sought, the time that it was found, and the location that this lost object occupies (see, e.g.,
                     screenshots included in Ref. 3 and in Ref. 5).

                     In particular, the SmartThings Find technology indicates the time that the object was located. For example, in a
                     screen shot included with Reference 5, notice that the time indicated is 12:45 PM on August 20th.
                     And, the SmartThings Find technology indicates the location of the lost object. In the example discussed
                     immediately above, the screen shot indicates that the location of the lost item is 2340 Jackson Street in
                     Bakersfield.
 8. The method       On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
 according           performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the
 to claim 6,         performance of that step as disclosed herein. For example, on information and belief, a user cannot use the
 wherein the         accused instrumentality as described in this claim chart without performance of the steps recited in this claim. By
 mobile device       providing the functionality of the accused instrumentality as described herein, Defendant also controls the
 comprises a         manner and/or timing of the functionality described in this claim chart. In other words, for a user to utilize the
 graphic display,    functionality described in this claim chart, the steps of this claim must be performed in the manner described
 further             herein. Without performance of the steps as described herein, the Defendant’s functionality will not be available
 comprising          to users.
 displaying a
 location where      Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a method that includes a graphic
 the adjacent        display that display a location where the adjacent mobile device was detected on the map.
 mobile device
 was detected on     Samsung's SmartThings Find technology includes the capability to show the location on a map of the lost Galaxy
 the map.            device (see, e.g., screenshots included in Ref. 3 and in Ref. 5). In fact, in a companion document, Samsung
                     reveals that "Your smartphone will then show you the exact location of your device on a map" (Ref. 2). And, as
                     can be seen in, for example, the screenshots included in Ref. 3 and in Ref. 5, the requisite location is indicated
                     with a corresponding icon at a specific map location.

                     Similarly, it has been stated that "Your devices will appear on a map so you can easily keep an eye on their
                     locations" (Ref. 4). This same document reminds user that "You'll see a map containing the devices you
                     selected" (Ref. 4).




                                                                     29
                    Case 2:23-cv-00238-JRG         Document 1-4 Filed 05/27/23             Page 31 of 35 PageID #:
                                                              106
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


                     Further, Samsung expressly states that their SmartThings Find technology can be employed "in conjunction with
                     maps...to guide you back to your devices" (excerpted from Ref. 2). Samsung goes on to detail that "Locating
                     your missing device is a breeze with integrated map directions" (Ref. 2).
 9. The method       On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
 according           performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the
 to claim 6,         performance of that step as disclosed herein. For example, on information and belief, a user cannot use the
 further             accused instrumentality as described in this claim chart without performance of the steps recited in this claim. By
 comprising          providing the functionality of the accused instrumentality as described herein, Defendant also controls the
 performing          manner and/or timing of the functionality described in this claim chart. In other words, for a user to utilize the
 mobile ad hoc       functionality described in this claim chart, the steps of this claim must be performed in the manner described
 surveillance of     herein. Without performance of the steps as described herein, the Defendant’s functionality will not be available
 respective          to users.
 adjacent mobile
 device by           Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a method that includes performing
 transmitting        mobile ad hoc surveillance of respective adjacent mobile device by transmitting through the cellular phone
 through the         connection, to the remote automated searchable database, data from the respective adjacent mobile devices
 cellular phone      received through the Bluetooth radio frequency transceiver.
 connection, to
 the remote          Offline Doesn’t Mean “Off-The-Grid”
 automated           With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
 searchable          because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
 database, data      locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
 from the            received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
 respective          smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
 adjacent mobile     location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
 devices received    ensuring that the device’s location is not revealed to anyone except its owner.
 through the
 Bluetooth radio     Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
 frequency           Samsung Global Newsroom
 transceiver.
 10. The method      On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
 according           performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the
 to claim 6,         performance of that step as disclosed herein. For example, on information and belief, a user cannot use the

                                                                    30
                   Case 2:23-cv-00238-JRG          Document 1-4 Filed 05/27/23           Page 32 of 35 PageID #:
                                                              107
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


 wherein the        accused instrumentality as described in this claim chart without performance of the steps recited in this claim. By
 Bluetooth radio    providing the functionality of the accused instrumentality as described herein, Defendant also controls the
 frequency          manner and/or timing of the functionality described in this claim chart. In other words, for a user to utilize the
 transceiver        functionality described in this claim chart, the steps of this claim must be performed in the manner described
 periodically       herein. Without performance of the steps as described herein, the Defendant’s functionality will not be available
 wirelessly         to users.
 receives the
 identification     On information and belief, Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a method
 from the           that includes the Bluetooth radio frequency transceiver periodically wirelessly receiving the identification from
 adjacent mobile    the adjacent mobile devices.
 devices.
                    For example, on information and belief, when a Samsung device has been offline for 30 minutes, it periodically
                    produces a BLE signal that is, in turn, periodically received by nearby Samsung devices.

                    Offline Doesn’t Mean “Off-The-Grid”
                    With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
                    because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
                    locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be
                    received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
                    smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
                    location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
                    ensuring that the device’s location is not revealed to anyone except its owner.

                    Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
                    Samsung Global Newsroom

                    Samsung documentation advertises that "With the SmartThings Find service, you can easily locate your missing
                    device even if it's offline...Once a device has been offline for 30 minutes, it produces a BLE signal that can be
                    received by other devices" (excerpted from Ref. 2). As a reminder, in this context, the arrangement of letters
                    "BLE" is an acronym for "Bluetooth Low Energy" (see, e.g., Ref. 2).
 12. The method     On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
 according          performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the
 to claim 6,        performance of that step as disclosed herein. For example, on information and belief, a user cannot use the

                                                                   31
                    Case 2:23-cv-00238-JRG         Document 1-4 Filed 05/27/23            Page 33 of 35 PageID #:
                                                              108
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


 wherein the         accused instrumentality as described in this claim chart without performance of the steps recited in this claim. By
 remote              providing the functionality of the accused instrumentality as described herein, Defendant also controls the
 automated           manner and/or timing of the functionality described in this claim chart. In other words, for a user to utilize the
 searchable          functionality described in this claim chart, the steps of this claim must be performed in the manner described
 database is a       herein. Without performance of the steps as described herein, the Defendant’s functionality will not be available
 centralized         to users.
 community
 search database.    Samsung has revealed that "If you report your device as lost via SmartThings Find, any nearby Galaxy
                     smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
                     location" (Ref. 2). This "Samsung server" houses the "remote automated searchable database" recited in this
                     portion of the patent claim.

                     And, the above-listed "Samsung server" is "centralized" as recited in this patent claim.

                     Furthermore, the other users that have "opted into helping find misplaced devices" (Ref. 2) constitute the
                     population of the "community search database" recited in this portion of the patent claim.
 14. The method      On information and belief, Defendant performs all steps of this claim or, alternatively, to the extent a user
 according           performs any step, Defendant conditions the user’s use of the Defendant’s accused instrumentalities on the
 to claim 6,         performance of that step as disclosed herein. For example, on information and belief, a user cannot use the
 wherein the         accused instrumentality as described in this claim chart without performance of the steps recited in this claim. By
 remote              providing the functionality of the accused instrumentality as described herein, Defendant also controls the
 automated           manner and/or timing of the functionality described in this claim chart. In other words, for a user to utilize the
 searchable          functionality described in this claim chart, the steps of this claim must be performed in the manner described
 database has        herein. Without performance of the steps as described herein, the Defendant’s functionality will not be available
 received            to users.
 identifications
 from a plurality    Samsung mobile phones, such as the Samsung Galaxy Note 20 5G, utilize a method wherein the remote
 of mobile           automated searchable database has received identifications from a plurality of mobile devices.
 devices.
                     Offline Doesn’t Mean “Off-The-Grid”
                     With the SmartThings Find service, you can easily locate your missing device even if it’s offline.7 That’s
                     because SmartThings users can now opt in to securely use their Galaxy smartphone or tablet to help others
                     locate their lost devices. Once a device has been offline for 30 minutes, it produces a BLE signal that can be

                                                                   32
                   Case 2:23-cv-00238-JRG          Document 1-4 Filed 05/27/23          Page 34 of 35 PageID #:
                                                              109
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


                    received by other devices. If you report your device as lost via SmartThings Find, any nearby Galaxy
                    smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
                    location, which will in turn notify you. All SmartThings Find user data is encrypted and securely protected,
                    ensuring that the device’s location is not revealed to anyone except its owner.

                    Samsung Launches SmartThings Find, a New Way To Quickly and Easily Locate Your Galaxy Devices –
                    Samsung Global Newsroom

                    Samsung has revealed that "If you report your device as lost via SmartThings Find, any nearby Galaxy
                    smartphone or tablet that has opted into helping find misplaced devices can alert the Samsung server about its
                    location" (Ref. 2).

                    And, to the extent that more than one user—each having at least one Galaxy mobile device so configured—has
                    "opted into helping find misplaced devices" (Ref. 2), then this claim limitation is satisfied.


                                                        REFERENCES CITED


Ref. 1: Verizon, "Samsung Galaxy Note20 5G/Galaxy Note20 Ultra 5G–Turn Bluetooth On/Off"; available at
https://www.verizon.com/support/knowledge-base-232939/; accessed January 06, 2023.


Ref. 2: Samsung Newsroom, "Samsung Launches SmartThings Find, A New Way To Quickly And Easily Locate Your Galaxy
Devices", October 30, 2020; available at https://news.samsung.com/global/samsung-launches-smartthings-find-a-new-way-to-quickly-
and-easily-locate-your-galaxy-devices; accessed January 06, 2023.


Ref. 3: Mohit Bharti, "How You Can Find Your Lost Galaxy Device Using Samsung SmartThings Find?", February 1, 2022;
available at https://www.sammyfans.com/2022/02/01/find-your-lost-galaxy-device-using-samsung-smartthings-find/; accessed
January 06, 2023.


                                                                   33
                   Case 2:23-cv-00238-JRG          Document 1-4 Filed 05/27/23      Page 35 of 35 PageID #:
                                                              110
Preliminary comparison of U.S. Patent No. 11,086,929 to Samsung SmartThings Find


Ref. 4: James Lee Taylor, "Samsung SmartThings Find Reaches 200 Million Nodes", July 15, 2022; available at
https://www.sammyfans.com/2022/07/15/samsung-smartthings-find-reaches-200-million-nodes/; accessed January 06, 2023.


Ref. 5: Chanakya Shrutam, "Samsung Launched SmartThings Find Service, To Easily Locate Your Missing Galaxy Devices",
October 30, 2020; available at https://www.sammyfans.com/2020/10/30/smartthings-find-service-locate-your-missing-galaxy-device/;
accessed January 06, 2023.


Ref. 6: Samsung, "[Galaxy Tab A] What Location Settings (GPS) Are Available?", January 13, 2018; available at
https://www.samsung.com/my/support/mobile-devices/galaxy-tab-a-what-location-settings-gps-are-available/; accessed January 06,
2023.




                                                                   34
